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                        UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF LOUISIANA


CATHERINE BROWN                                       CIVIL No.       21-1844

versus                                                JUDGE:          JTM

MINYANGO TOKPAH, SHAKIM HARRIS,                       MAGIS:          JVM
TANISHA WRIGHT, ANDREA MICHELLE
STEWART, JONTE MILLER, and
THERESA D. BRUNSON



         Plaintiff’s Motion to Continue Certain Defendants’
 Motion to Dismiss (Rec Doc. #51), on Basis of Plaintiff’s Counsel’s
                 Recent onset of Medical Limitations


         NOW INTO COURT, through undersigned counsel, comes Plaintiff

CATHERINE BROWN, who here files her Motion to Continue the certain defendants’

Andrea Stewart, Anti Fraud Warriors, LLC and Gerald Palmer’s recently filed Motion to

Dismiss (Rec. Doc. #51) currently scheduled for Submission on June 29, 2022, and to

reschedule that matter for Submission on the available Civil Hearing/Submission date

of July 27, 2022.

          This Motion to Continue arises unexpectedly, and solely due to recent and

serious Medical Limitations for Plaintiff’s counsel requiring the postponement and

continuance of almost the entirety of counsel’s law practice. About 4 weeks ago
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counsel experienced an onset of a very serious medical condition that his escalated

and in the last two weeks, with two medical appointments in the past week culminating

on Friday, June 17, 2020 where counsel’s Primary Care physician counsel to take a

break from Court appearances and strenuous long-hours preparation and work for a

period of at least 90 days while counsel takes pause for medical testing and to attend

to additional specialist appointments and consultations.

      Undersigned counsel in good faith believed that he would be able to complete

those tasks necessary to complete the memorandum in opposition with attachments

by the June 21, 2022 deadline, at the time that deadline was extended some two

weeks ago, but the worsening of certain medical conditions have made it impossible

for those tasks to be accomplished at this time.

      Undersigned counsel desires to keep his personal medical condition details

details out of the public record, and will gladly produce any items or medical

documentation necessary in an in-camera setting for the Court review should that be

requested by anyone involved.

      Counsel for Plaintiff believes that an extension of the requested FOUR

WEEKS from this date will allow the respite necessary for Plaintiff’s counsel to begin

his necessary medical treatment, and to allow the time and space necessary to allow

Plaintiffs a full briefing of all issues before the Court at this time, and represents here

that this requested delay does not appear to prejudice any of the defendants herein.

      Counsel for defendant/movers in the Motion to Dismiss sought continued




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here could not be contacted and informed today of this requested Motion to Continue

Hearing/Submission, and their opposition then must be assumed here relative to the

Court granting this requested continuance and rescheduling this matter for

Submission for the Court’s advertized available date of July 27, 2022.



                              Respectfully Submitted,


                              Dominic N. Varrecchio
                              ___________________________
                              Dominic N. Varrecchio (La. Bar #19456)
                              1539 Jackson Avenue, Suite 100
                              New Orleans, LA 70130
                              Telephone: (504) 524-8600
                              Email: knic55@cox.net
                              Attorney for Plaintiff


                           CERTIFICATE OF SERVICE

    I hereby certify that a copy of the above and foregoing, together with all

related pleadings involved in this filing, have been served upon all parties and/or

their counsel by the CM-ECF electronic filing system for the United States

District Court, or, by including same in the Service of Process upon previously

un-served defendants. This 21st day of June, 2022.

                          Dominic N. Varrecchio
                          _________________________
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